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                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION


IN RE: DEPUY ORTHOPAEDICS,                               §
INC., PINNACLE HIP IMPLANT                               §         MDL Docket No.
PRODUCTS LIABILITY                                       §
LITIGATION                                               §         3:11-MD-2244-K
                                                         §
------------------------------------------------------   §
This Document Relates to All Cases                       §
------------------------------------------------------   §


                 SUPPLEMENTAL ORDER REGARDING
            COMMON BENEFIT TRUST FUND FEES AND EXPENSES

         On March 5, 2020, this Court entered its Order Approving and Adopting the

Special Master’s Report and Recommendation on the Allocation of Common Benefit

Fees and Expenses. Having reviewed additional submissions provided following entry

of the March 5, 2020, Order, the Court provides supplemental instruction to the

Common Benefit Fund Administrator regarding the Common Benefit Trust Fund.

         The Court ORDERS that the Common Benefit Fund Administrator, ARCHER

Systems, LLC, is authorized and shall make the following supplemental distributions

from the Pinnacle Hip Impact Common Benefit Trust Account:


             1. Fisher, Boyd, Johnson & Huguenard, LLP – Reimbursement of $10,000
                for paid assessments;

             2. Neblett, Beard & Arsenault – Reimbursement of $10,000 for paid
                assessments and $28,316.32 for costs; and

             3. The Lanier Law Firm – Reimbursement of $10,000 for paid assessments.
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       Further, the Court ORDERS that the Trust Account maintain a balance of

$100,000, rather than the previously-ordered $500,000, for the duration of this MDL.

       Finally, the Court ORDERS that the respective half-share of any future special

 master fees and expenses approved pursuant to this Court’s April 30, 2012, order

 attributed to the plaintiffs shall be paid from the Trust Account.

       SO ORDERED.

       Signed January 11th, 2021.


                                        _________________________________________
                                        ED KINKEADE
                                        UNITED STATES DISTRICT JUDGE




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